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IN THE UNITED sTATES DISTRICT cOURHOEmH-H m ¢wn
FOR THE WESTERN DISTRICT OF TENNESSEEEHK.us.p; JF
wESTERN DIVISION W-B- OF TN. MLMPH:S

 

DEXTER O. CREEL, JR.,

Plaintiff,
NO. 01_2989 B

VS.

SHELBY COUNTY GOVERNMENT, A MuniCipal
Corporation; THE HONORABLE JIM ROUT,
Individually and in his Capacity as

Mayor Of Shelby County, Tennessee; SHELBY
COUNTY SHERIF`F"S DEPARTMENT, A DiviSion Of
the Shelhy County Government; A.C. GILLIS,
Individually and in his Offioial Capacity
as Director of the Shelby County Sheriff's
Department; and JAMES GLEAVES, lndividually
and in his Official Capacity as Deputy Sheriff
for the Shelby County Sheriff's Department,

Defendants.

 

ORDER GRANTING DEFENDANT JAMES GLEAVES AN
EXTENSION OF` TIME IN WHICH TO RESPOND

 

This matter came on to be heard upon Defendant's Motion for an
Extension of Time to Respond and the entire record in this cause
from which it appears to the Court that for good cause shown the
Motion of the Defendant should be granted and that the Defendant
should be granted an additional period up to and including May 23,

2005 in which to respond or otherwise plead in this cause.

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IT IS SO ORDERED.

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CERTIFICATE OF SERVICE
l hereby certify that a copy of the foregoing Pleading
has been served upon Johnny Q. Rasberry, Jr., Attorney at Law and
R. Linley Richter, Jr., Attorney at Law, 100 North Main Street,
Suite 2909, Memphis, Tennessee 38103; and Debra L. Fessenden,
Assistant County Attorney, 160 N. Main Street, Suite 660, Memphis,

Tennessee 38103 by U.S. mail, postage prepaid, this sZJ day of

§§S;N\Mi\

E. MARKOWITZ

April, 2005.

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
case 2:01-CV-02989 Was distributed by faX, mail, or direct printing on
Apri128, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

